
PER CURIAM.
Upon a complaint by The Florida Bar this Court appointed a referee to conduct a hearing regarding Sapp’s alleged misconduct. Sapp tendered a conditional guilty plea for consent judgment,* acknowledging his violation of Disciplinary Rules 1-102(A)(1) and 6-101(A)(3) of the Code of Professional Responsibility. The referee recommended that Sapp be found guilty in accordance with his conditional plea and that he be given a public reprimand with an appearance before the Board of Governors.
Neither side contests the referee’s report which we hereby adopt. Publication of this opinion in Southern Reporter and an appearance before the Board of Governors shall serve as the public reprimand.
Judgment for costs in the amount of $644.00 is hereby entered against respondent, for which sum let execution issue.
It is so ordered.
ADKINS, Acting C.J., and OVERTON, McDonald, EHRLICH and SHAW, JJ., concur.

 We feel it unnecessary to publish the full text of the plea. The Court file is open for inspection.

